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 4
     Attorney for MIGUEL CORONA LOZANO
 5
 6                               UNITED STATES DISTRICT COURT
 7                              EASTERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,             )                 NO. 2:09-CR-244-MCE
 9                                         )
                          Plaintiff,       )                 STIPULATION AND PROPOSED
10                                         )                 ORDER TO CONTINUE
     vs.                                   )                 MIGUEL CORONA LOZANO’S
11                                         )                 JUDGMENT AND
     MIGUEL CORONA LOZANO,                 )                 SENTENCE HEARING
12                                         )
                          Defendant.       )
13   _____________________________________ )
14          Defendant Miguel Corona Lozano, through his appointed counsel, Gilbert A. Roque,
15   and the United States of America, through Assistant United States Attorney Todd D. Leras,
16   agree that the judgment and sentence hearing set for July 28, 2011, at 9:00 a.m., be continued
17   to August 4, 2011, at 9:00 a.m., before the Honorable Morrison C. England, Jr., as to
18   Defendant Miguel Corona Lozano only.
19          The parties stipulate and agree to the continuance because counsel for defendant and
20   for plaintiff need additional time to resolve sentencing issues.
21                                             Respectfully submitted,
22   DATED: July 25, 2011                      /s/ Gilbert A. Roque
                                               GILBERT A. ROQUE, Attorney for
23                                             Defendant MIGUEL CORONA LOZANO
24
25                                             BENJAMIN B. WAGNER
                                               United States Attorney
26
     DATED: July 25, 2011               By:    /s/ Todd D. Leras
27                                             TODD D. LERAS
                                               Assistant United States Attorney
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 1                                              ORDER
 2          The Court, having received, read and considered the stipulation of the parties, and good
 3   cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order.
 4   Based on the stipulation of the parties, the Court finds that the failure to grant a continuance
 5   in this case would deny defendant Miguel Corona Lozano’s defense counsel and the
 6   prosecutor reasonable time necessary for effective preparation, taking into account the
 7   exercise of due diligence. The time from the date of the parties' stipulation, July 25, 2011, to
 8   and including August 4, 2011, shall be excluded from computation of time within which the trial
 9   of this case must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. §
10   3161(h)(7)(A) and T4 (reasonable time for both counsel to prepare). The Court specifically
11   finds that the ends of justice served by the granting of such continuance outweigh the interests
12   of the public and orders that the July 28, 2011, judgment and sentence hearing for defendant
13   Miguel Corona Lozano shall be continued until August 4, 2011, at 9:00 a.m.
14          IT IS SO ORDERED.
15
      Dated: July 28, 2011
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17                                               ______________________________
                                                 MORRISON C. ENGLAND, JR.
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                                                 UNITED STATES DISTRICT JUDGE
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